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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION

ZACHARY ZEDALIS,
                                                   CASE NO.: 1:17-cv-00113-MW-GRJ
            Plaintiff,

vs.

SADIE DARNELL, in her official
capacity as SHERIFF, ALACHUA
COUNTY, FLORIDA,

     Defendant.
______________________________________/

                                PLAINTIFF’S TRIAL BRIEF

            Plaintiff, Zachary Zedalis, hereby files his Trial Brief as follows:

      I.        Generally

            Plaintiff incorporates his Response in Opposition to Defendant’s Motion in

Limine which includes arguments that may arise during the trial of this case

Additionally, to state a First Amendment retaliation claim, a plaintiff must

establish: (1) “his speech or act was constitutionally protected;” (2) “the

defendant's retaliatory conduct adversely affected the protected speech;” and (3)

“there is a causal connection between the retaliatory actions and the adverse effect

on speech.” Bennett v. Hendrix, 423 F.3d 1247, 1250 (11th Cir.2005) (citations

omitted); see also Abella v. Simon, 522 Fed.Appx. 872, 873 (11th Cir.2013). A
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plaintiff's “claim depends not on the denial of a constitutional right, but on the

harassment [ ] received for exercising [his] rights.” Bennett, 423 F.3d at 1253.

      The 11th Circuit applies a four-stage analysis “[i]n cases where the state denies

discharging the employee because of speech.” Bryson v. City of Waycross, 888 F. 2d

1562, 1565 (11th Cir. 1989). First, it considers “whether the employee's speech may

be ‘fairly characterized as constituting speech on a matter of public

concern.’” Id. (quoting Rankin v. McPherson, 483 U.S. 378, 384, 107 S. Ct. 2891,

97 L.Ed.2d 315 (1987)). “Political speech addressing public issues or candidates

running for public office invariably address matters of public concern because it is

‘the unfettered interchange of ideas for the bringing about of political and social

changes desired by the people.’” Stough v. Gallagher, 967 F.2d 1523, 1527 (11th

Cir.1992) (quoting Roth v. United States, 354 U.S. 476, 484, 77 S.Ct. 1304, 1

L.Ed.2d 1498 (1957)); Harvey v. City of Bradenton, 804CV1748TEAJ, 2005 WL

3533155, at *6 (M.D. Fla. Dec. 22, 2005).

      Only if this threshold issue is satisfied will the Court then will then apply the

second prong, where it “weighs the employee's first amendment interests against ‘the

interest of the state, as an employer, in promoting the efficiency of the public

services it performs through its employees.’” Bryson, 888 F. 2d 1562 (11th Cir.

1989)(quoting Pickering v. Board of Education, 391 U.S. 563, 568, 88 S.Ct. 1731,

20 L.Ed.2d 811 (1968). Third, “[i]f the public employee prevails on the balancing

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test, the fact-finder determines whether the employee's speech played a ‘substantial

part’ in the government's decision to demote or discharge the employee.”

Id. “Fourth, if the employee prevails by showing that the speech was a substantial or

motivating factor in the state's employment decision, the state must prove by a

preponderance of the evidence that ‘it would have reached the same decision ... even

in the absence of the protected conduct.’ ” Id. at 1566 (quoting Mt. Healthy City Sch.

Dist. Bd. of Educ. v. Doyle, 429 U.S. 274, 286, 97 S.Ct. 568, 50 L.Ed.2d 471 (1977));

see also Stanley v City of Georgia, 219 F.3d 1280 (11th Cir. 2019).

      The statement [or speech] will not be considered in a vacuum; the

manner, time, and place of the employee's expression are relevant, as is the context

in which the dispute arose.... pertinent considerations [are] whether the statement

impairs discipline by superiors or harmony among co-workers, has a detrimental

impact on close working relationships for which personal loyalty and confidence are

necessary, or impedes the performance of the speaker's duties or interferes with the

regular operation of the enterprise. Rankin, 483 U.S. at 388, 107 S. Ct. at 2899.

Because political speech cases require an open-ended inquiry concerned with

specific work-relationships, the Supreme Court did not lay down a general standard

against which employee speech is to be judged. Pickering, 391 U.S. at 569, 88 S.Ct.

at 1735. Thus, the court must balance the competing interests on a case-by-case

basis. See Dartland v. Metropolitan Dade County, 866 F.2d 1321 (11th Cir.1989);

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Stough v. Gallagher, 967 F.2d 1523, 1527–28 (11th Cir. 1992); see also Morgan v.

Ford, 6 F.3d 750, 753-54 (11th Cir. 1993) (stating “[a] state may not demote or

discharge a public employee in retaliation for protected speech[,]” and discussing

the four-part Pickering-Connick test).

       In Snipes v. Volusia County, the Eleventh Circuit explained how a government

employee’s free speech rights should be balanced against his employer’s interest via

application of the Pickering-Connick test:

       First, we consider whether Plaintiff’s speech was made as a citizen and
       whether it implicated a matter of public concern. If this first threshold
       requirement is satisfied, we then weigh Plaintiff’s First Amendment
       interests against the City’s interest in regulating his speech to promote
       the efficiency of the public services it performs through its employees.
       The above two issues are questions of law that are decided by the court.
       The court’s resolution determines whether Plaintiff’s speech is
       protected by the First Amendment.

       If his speech is so protected, the third stage of the analysis requires
       Plaintiff to show that it was a substantial motivating factor in his
       termination. If Plaintiff is able to make this showing, the burden shifts
       to the City to prove that it would have terminated Plaintiff even in the
       absence of his speech. Because these final two issues, which address
       the causal link between Plaintiff’s speech and his termination, are
       questions of fact, a jury resolves them unless the evidence is
       undisputed.

704 Fed. Appx. 848, 851 (11th Cir. Aug. 21, 2017) (citing Moss v. City of Pembroke

Pines, 782 F.3d 613, 617-18 (11th Cir. 2015 (citations and quotations omitted in

original)).




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      Regarding the first determination of the Pickering-Connick test, the trial court

must determine the legal issue of whether the employee’s speech may be “‘fairly

characterized as constituting speech on a matter of public concern.’” Rankin v.

McPherson, 483 U.S. 378, 384 (1987)(quoting Connick v. Myers, 461 U.S. 138, 146,

103 S.Ct. 1684, 1689, 75 L.Ed.2d 708 (1983). The court must review the “content,

form, and context of the speech” to make this determination. Id. at 388. If the court

concludes the speech is indeed of public concern, the court must then balance the

interests of the public employee against the interest of the public employer. See

Rankin at 384-85. The matter of causation is almost always a determination to be

made by a jury. See Mt. Healthy City Sch. Dist. v. Doyle, 429 U.S. 274, 287 (1977)

(discussing that a jury should determine whether protected speech played a

substantial part in retaliatory employment decision); Bailey v. Floyd County Bd. of

Educ., 106 F.3d 135, 145 (6th Cir. 1997) (“Ordinarily, causation is a question to be

resolved by a jury.”).

      Regarding the first prong of the Pickering-Connick test, Plaintiff’s public

speech is unquestionably related to public concern. See Monitor Patriot Co. v. Roy,

401 U.S. 265, 272 (1971) (“And if it can be conceded that the First Amendment was

‘fashioned to assure the unfettered interchange of ideas for the bringing about of

political and social changes desired by the people,’ then it can hardly be doubted that

the constitutional guarantee has its fullest and most urgent application precisely to

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the conduct of campaigns for political office.” (quoting Roth v. United States, 354

U.S. 476, 484 (1957)); Connick, 461 U.S. at 138 (identifying public concern as

“relating to any matter of political, social, or other concern to the community.”);

Cragg v. City of Osawatomie, 143 F.3d 1343, 1346 (10th Cir. 1998) (“We would be

hard pressed to classify the election of a city council member as anything other than

a matter of great public concern.”). Here, Plaintiff commented on matters of public

concern; the record demonstrates those are: safety matters regarding deputies’ ability

to more promptly respond to emergency calls through use of in-vehicle computers,

top-heavy budgeting which resulted in inadequate on-street deputy presence, related

safety issues such as promoting employees above their qualification levels, and

diversity of employees within the sheriff’s office. Thus, Plaintiff has satisfied

the first element of the Pickering-Connick test.

      As to the second element of the Pickering-Connick test, the court must weigh

the value of the communication of public concern, against the Defendant’s interest

in ensuring the efficiency of its services it provides to the public, i.e., effective law

enforcement. Pickering at 568. There are several factors to consider in balancing the

state's interest in efficient provision of public services against the employee’s speech

interest, including: (1) whether the speech at issue impedes the government's ability

to perform its duties efficiently, (2) the manner, time and place of the speech, and

(3) the context within which the speech was made. Pickering, 391 U.S. at 567-68;

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Connick, 461 U.S. at 151-55; Ferrara v. Mills, 781 F.2d 1508,1513 (11th Cir. 1986);

Morales v. Stierheim, 848 F.2d 1145, 1149 (11th Cir. 1988). Here, Defendant will

not be able to present evidence that her interests outweigh Plaintiff’s. See generally,

Jordan v. Ector County, 516 F.3d 290, 299 (5th Cir. 2008) (finding that the balancing

test did not fall in the employer’s favor where it presented no evidence that Jordan’s

political activities caused disruptions that would justify termination

      Defendant will also argue that Plaintiff cannot show his speech was a

motivating factor in the actions Defendant took against him. Defendant will note

and attempt to prove that the following factors weigh against liability here: (1) the

time between Plaintiff’s speech and the adverse actions; (2) whether the Sheriff’s

stated reasons for the action are pretextual or have varied; and (3) whether the

Sheriff’s other actions or words evidence a causal relation between the speech and

the adverse actions. Valdes v. City of Doral, 662 Fed. Appx. 803, 812 (11th Cir.

2016). [Doc. 60-1, pg. 14].

      To establish a causal connection, Plaintiff must show that the protected

activity and adverse action “are not completely unrelated.” Wideman v. WalMart

Stores, Inc., 141 F. 3d 1453, 1457 (11th Cir. 1998). In determining whether a

plaintiff has produced prima facie evidence of causation, the courts have generally

focused on two indicia: timing and evidence of ongoing antagonism. See id. As the

Third Circuit explained:

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              It is important to emphasize that it is causation, not
              temporal proximity itself, that is an element of plaintiff’s
              prima facie case, and temporal proximity merely provides
              an evidentiary basis from which an inference can be
              drawn. The element of causation, which necessarily
              involves an inquiry into the motives of an employer, is
              highly context-specific.

Kachmar v. Sungard Data Sys., Inc., 109 F .3d 173, 178 (3d Cir. 1997).

   The causal connection is not “the sort of logical connection that would justify a

prescription that the protected participation in fact prompted the adverse action” that

would “rise to the level of direct evidence of discrimination.” Simmons v. Camden

County Bd. Of Educ., 757 F.2d 1187, 1189 (11th Cir. 1985). Rather, the Eleventh

Circuit “construe[s] the causal link element broadly so that ‘a plaintiff merely has to

prove that the protected activity and the negative employment action are not

completely unrelated.’” Goldsmith v. Bagby Elevator Co., Inc., 513 F.3d 1261, 1278

(11th Cir. 2008) (quoting Olmsted v. Taco Bell Corp., 141 F.3d 1457, 1460 (11th

Cir. 1998) (finding a time span of approximately five months to be sufficient to prove

causation).

      Here, Defendant will likely offer explanations for disciplining Plaintiff and

eventually terminating his employment are not supported by the record. Critically,

as explained in greater detail below, Defendant’s statements that “[b]ased on past

practice, either the criminal conduct relating to domestic battery or the separate

charge of untruthfulness would have been sufficient to cause Zedalis to be

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dismissed”, do not match the complete lack of action taken to discipline and

terminate Mr. Allen, whose documented insubordination, failure to follow

directives, and criminal conduct impersonating a sworn officer, was not even

investigated.

   II.      Comparators

         Beyond Defendant’s direct, retaliatory actions against Plaintiff for his speech

and candidacy, the record shows that Defendant treated other employees who did

not engage in protected speech more favorably than Plaintiff. Specifically,

Defendant did not terminate - indeed did not even discipline - Mr. Allen, despite his

numerous and repeated instances of blatant insubordination, his continued and

blatant refusal to properly utilize the chain of command, and his conduct in violation

of § 843.08, Fla. Stat., using his retired law enforcement badge to essentially

impersonate a sworn law enforcement officer.

         Defendant argues that witnesses such as Kevin Allen, Joseph Sperring and

Keith Vermillion are not proper “comparators”. However, “comparators”, per se,

are not required in a First Amendment analysis. Evidence of these other employees

who received more favorable treatment than Plaintiff is not Lewis v City of Union

City, Georgia, 918 F.3d 1213 (11th Cir. 2019) “comparator” evidence.

         These witnesses are offered as evidence that the protected political speech of

Plaintiff is the “substantial motivating factor” for Defendant’s termination of

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Plaintiff because these other employees were treated more favorably under the same

or more egregious infractions.       These witnesses’ testimony is evidence that

Defendant would, and did, not make the same decision absent the protected speech

and in fact operated in a culture of enabling crimes and ignoring infractions, not

terminating deputies under false charges as it did to Plaintiff.

       In Walton v. Powell, 821 F. 3d 1204 (10th Cir. 2016), the Tenth Circuit held

that the McDonnell-Douglas burden-shifting framework does not apply to First

Amendment retaliation claims, which are governed by a plaintiff-friendly standard.

The Supreme Court has never used McDonnell Douglas to assess a First Amendment

retaliation claim. See, e.g., Garcetti v. Ceballos, 547 U.S. 410 (2006); Casey v. W.

Las Vegas Indep. Sch. Dist., 473 F.3d 1323 (10th Cir. 2007); Brammer-Hoelter v.

Twin Peaks Charter Acad., 492 F.3d 1192 (10th Cir. 2007). Every circuit to have

considered whether McDonnell Douglas should apply in First Amendment

discrimination or retaliation cases has declined to do so. See, e.g., Dye v. Office of

the Racing Comm’n, 702 F.3d 286, 294-95 (6th Cir. 2012); Allen v. Iranon, 283 F.3d

1070, 1074-75 & n.4 (9th Cir. 2002); Manh v Jefferson, 891 F.3d 1093 (8th Cir.

2018); Acevedo-Diaz v. Aponte, 1 F.3d 62, 66-67 (1st Cir. 1993).

      The Supreme Court applies a more conventional and straightforward test of

liability for use in First Amendment retaliation cases. In Mt. Healthy City School

District Board of Education v. Doyle, 429 U.S. 274 (1977), the Court held that a

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First Amendment retaliation plaintiff must prove (using either direct or

circumstantial evidence) that his political affiliation was a “substantial” or

“motivating” factor behind the adverse employment action. Id. at 287. If the Plaintiff

succeeds in proving this, he prevails. See, e.g., McCue v. Bradstreet, 807 F.3d 334,

344-47 (1st Cir. 2015) (applying Mt. Healthy to First Amendment retaliation suit in

summary judgment context); Eckerman v. Tenn. Dep’t of Safety, 636 F.3d 202, 207-

08 (6th Cir. 2010) (same). Evidence of others who were treated more favorably

assists the Plaintiff in meeting his burden of proof.

      Here, both Plaintiff and Mr. Allen were accused of insubordination and

criminal conduct. Only Plaintiff was investigated, disciplined, and eventually

terminated. Mr. Allen was to be offered the “fast track” for his insubordination

documented in investigation 18-AI-03, but despite Capt. Bessigner’s initial findings

that Mr. Allen had indeed engaged in blatant insubordination, Col. Huckstep, acting

under the Sheriff’s authority, ordered the investigation closed with no action taken

against Mr. Allen.

      Unlike Mr. Allen, Plaintiff engaged in protect speech and political patronage.

Defendant’s considerably more favorable treatment of Mr. Allen, despite his

egregious and criminal conduct related directly to the performance of his duties with

Defendant, further supports Plaintiff’s showing of retaliation. Similarly, that

Defendant engaged in retaliation against Mr. Davis for openly supporting Plaintiff’s

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campaign, contrasted with Mr. Allen’s treatment, further supports Plaintiff’s claim

of First Amendment retaliation.

                                             Respectfully submitted,



                                             /s/ Marie A. Mattox
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                     CERTIFICATE OF COMPLIANCE

      I hereby certify in accordance with N.D. Local R. 7.1, that this brief complies

with the type-volume limitation as specified. Specifically, this response contains

2709 words.


                                             /s/ Marie A. Mattox
                                             Marie A. Mattox

                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true copy of the foregoing has been served this

2nd day of September 2020 via CM/ECF to all parties of record.

                                             /s/ Marie A. Mattox
                                             Marie A. Mattox


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